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B7 (Official Form 7) (12/07)

UNITED STATES BANKRUPTCY COURT

C009 28 ay 10: 12

WESTERN DISTRICT OF MICHIGAN

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In re, Morgan, Nancy . Case No.
Debtor (f known)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must fumish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement conceming all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as °A.B., a minor child, by John Doe, guardian.” Do nat disclose the child's name. Sec, 11 U.S.C.
§112 and Fed, R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an appHcable question is “None,” mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.

DEFINITIONS

"In business.” A debtor is "in business” for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation: a partner, other than a limited partner, of a partnership: a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
employment.

“Insider.” The term “insider” includes but is not limited to: relatives of the debtor: general partners of the debtor and
their relatives: corporations of which the debtor is an officer, director, or person in control; officers. directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives: affiliates of the debtor and insiders
of such affiliates: any managing agent of the debtor. 1 U.S.C. § 101.

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of

Oo the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE
Yr 2009 7560 a Employment
Yr 2008 400 a Employment

¥r 2007 20000 a Employment
OF

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2. Income other than from employment or operation of business

State the amount of income received by the debtor other than from employment, trade, profession, operation of the
debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
nuust state income for each spouse whether or not 2 joint petition is filed, unless the spouses are separated and a joint
petition is not filed,}

AMOUNT SOURCE

Yr 2009 3000 0 Tax Refand
¥r 2008 30000 0 Husband Wages
¥r 2007 30000 0 Husband Wages

Bij

3. Payments to creditors

Complete a. or 6., as appropriate, and c.

a, Individual or joint debtar(s) with primarily consumer debts: List all payments on loans, installment purchases of
goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS PAID STILL OWING

Qf

b. Debtor whase debts are not primarily consumer debts: List cach payment or other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married

debtors filing under chapter 12 or chapter 13 noust include payments and other transfers by cither or both spouses
whether or not a jomt petition is filed, uniess the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING

TRANSFERS

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c. All debtors: List all payments made within one year immediately preceding the commencement of this case

to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

BF

4. Suits and administrative proceedings, executions, garnishments and attachments

a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 nust inchude
information conceming either or both spouses whether or not a joit petition is filed, unless the spouses are separated
and a joint petition is not filed}

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION

if

b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one

year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
oust include information concerning property of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated snd a joint petition is not filed.)

NAME AND ADDRESS DESCRIPTION
OF PERSON FOR WHOSE DATE OF AND VALUE
BENEFIT PROPERTY WAS SEIZED SEIZURE OF PROPERTY

SF

3. Repossessions, foreclosures and returns

List all property that has been repossessed by @ creditor, sold at a foreclosure sale, transferred through a deed in licu
of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 noust include information conceming property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is aot filed.)

DATE OF REPOSSESSION, DESCRIPTION
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE
OF CREDITOR OR SELLER TRANSFER OR RETURN OF PROPERTY

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6, Assignments and receiverships

a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed}

TERMS OF
NAME AND ADDRESS DATE OF ASSIGNMENT
OF ASSIGNEE ASSIGNMENT OR SETTLEMENT

Bf

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information conceming property of cither or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is bot filed.)

NAME AND LOCATION DESCRIPTION

NAME AND ADDRESS OF COURT DATE OF AND VALUE
OF CUSTODIAN CASE TITLE & NUMBER ORDER Of PROPERTY

Bi

7. Gifts

List alt gifts or charitable contributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS RELATIONSHIP DESCRIPTION
OF PERSON TO DEBTOR, DATE AND VALUE
OR ORGANIZATION IF ANY OF GIFT OF GFT

af

8 Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
inchide losses by cither or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE
PROPERTY BY INSURANCE, GIVE PARTICULARS OF LOSS

Hj

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9%. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys, for
consultation conceming debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS NAME OF PAYER IF DESCRIPTION AND
OF PAYEE OTHER THAN DEBTOR VALUE OF PROPERTY

Ri

10. Other transfers

a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY
RELATIONSHIP TO DEBTOR. TRANSFERRED AND
DATE VALUE RECEIVED

<i

b, List all property transferred by the debtor within ten years immediately preceding the coramencement of this case
toa self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S} OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR’S
INTEREST IN PROPERTY

Oj

11. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
checking, savings, or other financial accounts. certificates of deposit, or other instruments: shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
NAME AND ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

A
Hi

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12. Safe deposit boxes

List each sate deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
within ome year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 nuust include boxes or depositories of either or both spouses whether or pot a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY

Elf

13. Setoffs

List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
conceming either or both spouses whether or not a joint petition is filed, uniess the spouses are separated and a joint
petition is not filed.)

DATE OF AMOUNT
NAME AND ADDRESS OF CREDITOR SETOFF OF SETOFF

OF

14. Property held for another person
List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND
OF OWNER VALUE OF PROPERTY LOCATION OF PROPERTY

ar

1S. Prier address of debtor

If debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
filed, report also any separate address of eather spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

Gio LibeeryY sr WOAT pac WJos - b | 04
GRAND LEDGE M\ NWOT WEE RGVE |

Zk Dickens OR

To Leo of NANcY MokEAGVE gor - g| og

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16, Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the community property state.

NAME
Robrat MOKEAGVE - CALIFORNIA

17. Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

Rf

a, List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

Bj

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAME AND ADDRESS DATEQF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

Ei

c. List alf judicial or administrative proceedings, including settlements or orders, under any Environmental Law with

respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party

to the proceeding, and the docket number.

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

BF

18 . Nature, location and name of business

a. Jf the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor. or was self-employed in a trade, profession, or
other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
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which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
the commencement of this case.

If the debtor is a partnership. list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning end ending dates of all busmesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities, within six years immediately preceding the commencement of this case.

If the debtor is a corporation, list the names. addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a parmer or owned 5 percent or more of
the voting or equity securities within six years immediately preceding the commencement of this case.

LAST FOUR DIGITS
OF SOCIAL-SECURITY BEGINNING AND
NAME OR OTHER INDIVIDUAL ADDRESS NATUREOF BUSINESS ENDING DATES
TAXPAYER-LD. NO.
(ITIN) COMPLETE EIN

None b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as
fa defined in 11 U.S.C. § 101,

NAME ADDRESS

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation: a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other actrvity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

19. Books, records and financial statements

Nowe a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED
None b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
D case have audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

Sf

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c. List all firms or individuals who at the time of the commencement of this case were in possession of the
books of account and records of the debtor. If any of the books of account and records are not available, explain.

NAME ADDRESS

Bi

d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this cas.

NAME AND ADDRESS DATE ISSUED

Bi

20. Inventories

a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of cach inventory, and the dollar amount and basis of each inventory.

DOLLAR AMOUNT
OF INVENTORY

DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other
basis)

AF

b, List the name and address of the person having possession of the records of each of the inventories reported.
in a., above.

NAME AND ADDRESSES
OF CUSTODIAN
DATE OF INVENTORY OF INVENTORY RECORDS

Bf

21. Current Partners, Officers, Directors and Shareholders

a, If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
partnership.

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

RF

b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
corporation.
NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

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10

22. Former partners, officers, directors and shareholders

None a. If the debtor is a partnership, list each member who withdrew from the partnership withm one year immediately
J preceding the commencement of this case.
NAME ADDRESS DATE OF WITHDRAWAL
Nowe b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
A within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

23. Withdrawals from a partnership or distributions by a corporation

If the debtor is a parmership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION
RELATIONSHIP TO DEBTOR OF WITHDRAWAL AND VALUE OF PROPERTY

BF

24, Tax Consolidation Group.

If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within six years

immediately preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER-IDENTIFICATION NUMBER (EIN)

i

25. Pension Funds.

If the debtor is not an individual, list the name and federal taxpayer-identification aumber of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

NAME OF PENSION FUND TAXPA YER-IDENTIFICATION NUMBER (EEN)

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{if completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial
affairs and any attachments thereto and that they are truc and correct.

Date 323 | 0“ Signature Wary —
of Debtor

otro Joint Debtor
(if any)

[ff completed on behalf of a partnership or corporation]

I declare under penalty of perjury that 1 have read the answers contained in the foregomg statement of financial affairs and any attachments
thereto and that they are true and correct to the best of my knowledge, information and belief.

Date Signature

Print Name and Tre

[An individeal signing on behalf of a partnership or coeporation must indicate position on relanonship to debtor.]

continuation sheets attached

Penalty for making a false starement: Fine of up to $500,000 or tnprisonment for up to 5 years, or both, 18 U.S.C. §§ 152 and 357!

DECLARATION AND SIGNATURE OF NON-ATFORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I ama bankruptcy petition preparer as defined m 11 U.S.C. § 110, (2) I prepaced thas document for
compensation znd have provided the debtor with 2 copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110th),
and 342(); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(0h) setting a meximem fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maxtoxim amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social-Security No. (Required by 11 U.S.C. § E10.)

Of the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security munber of the officer, principal,
responsible person, or partner who signs this document.

Address
xX
Signature of Bankruptcy Pention Preparer Date

Names and Social-Secunty numbers of all other individuals who prepared or assisted in prepanng this document unless the bankruptcy petition preparer is
not an wdividual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropnate Official Fonm for each person

A bankruptcy petition preparer's failure to comply with the provisions of tite LI and the Federal Rules of Bankruptcy Procedure may result in
Sines or imprisonment or both. 18 U.S.C. § 156.

